     Case 5:19-cv-01552-PLA Document 31 Filed 11/06/20 Page 1 of 1 Page ID #:5412



1                                                                      JS-6
2

3

4

5

6

7

8                                    UNITED STATES DISTRICT COURT
9                               CENTRAL DISTRICT OF CALIFORNIA

10                                         EASTERN DIVISION

11

12   NATALIE E.,                               )   No. ED CV 19-1552-PLA
                                               )
13                      Plaintiff,             )   JUDGMENT
                                               )
14                 v.                          )
                                               )
15   ANDREW M. SAUL, COMMISSIONER              )
     OF SOCIAL SECURITY                        )
16   ADMINISTRATION,                           )
                                               )
17                      Defendant.             )
                                               )
18

19         In accordance with the Memorandum Opinion filed concurrently herewith,

20         IT IS HEREBY ADJUDGED that the decision of defendant, the Commissioner of Social

21   Security Administration, is reversed and this case is remanded to defendant for further

22   proceedings consistent with the Memorandum Opinion.

23

24   DATED: November 6, 2020                       ______________________________________
                                                               PAUL L. ABRAMS
25                                                    UNITED STATES MAGISTRATE JUDGE

26

27

28
